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 8                           UNITED STATES DISTRICT COURT
 9                         SOUTHERN DISTRICT OF CALIFORNIA
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11    Silvestre Estrada, a minor, by and                Case No.: 22-cv-00373-AJB-BGS
      through is proposed guardian ad litem
12                                                      ORDER GRANTING IN PART
      Emily Prieto, et al.,
                                                        JOINT MOTION TO CONTINUE
13                                    Plaintiffs,       REMAINING LITIGATION
14    v.                                                DEADLINES
15
      UNITED STATES OF AMERICA,
16                                   Defendant.
                                                        [ECF 39]
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18
           On June 13, 2023, the parties filed a Joint Motion to Continue Remaining Litigation
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     Deadlines. (ECF 39.) On April 26, 2023, this Court granted the parties’ motion to continue
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     expert-related dates two weeks. (ECF 38.) The parties’ current motion seeks to extend all
21
     remaining applicable deadlines (see ECF 27, 38) 60 days. (Id.) The motion is GRANTED
22
     IN PART.
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           A scheduling order “may be modified only for good cause and with the judge’s
24
     consent.” Fed. R. Civ. P. 16(b)(4). The Court’s “primary focus is on the movant’s
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     diligence in seeking amendment.” Morales v. Chula Vista, No. 07-cv-0186 DMS (WMC),
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     2008 WL 11508595, at *2 (S.D. Cal. Apr. 15, 2008).
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 1         The parties have exchanged expert reports and rebuttal reports. (ECF 39 at 5.) Their
 2   motion indicates they cannot, however, complete expert witness depositions before the
 3   expert discovery deadline. (Id.) They indicate one attorney for Plaintiff will be involved
 4   in a three-week trial with another court in this district at the end of this month, another will
 5   be involved in a trial at the end of July, and another recently underwent a surgery
 6   preventing him from working for a brief period. (Id. at 6.)
 7         While the Court is mindful of the parties’ need to have enough time to complete
 8   necessary discovery, the Court must regulate the scheduling order to efficiently move
 9   toward resolution of the case. Given that the Court has already extended all expert-related
10   deadlines once (see ECF 38), the Court finds good cause to GRANT the motion IN PART
11   and extends remaining deadlines in this case 45 days only. Accordingly, the remaining
12   deadlines in the Scheduling Order are extended as follows:
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14    Expert Discovery Deadline                                  August 10, 2023
15    Dispositive Motions Filing Deadline                        August 25, 2023
      Mandatory Settlement Conference (MSC) Briefs               October 27, 2023
16    MSC                                                        November 10, 2023, at 2:00 p.m.
17    Rule 26(a)(3) Pretrial Disclosures                         November 26, 2023
      Meet and Confer on Pretrial Conference Order (PTO)         December 3, 2023
18    Objections to PTO                                          December 8, 2023
19    Lodgment of PTO                                            December 15, 2023
      Final Pretrial Conference                                  December 21, 2023, at 2:00 p.m.
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21         This Order modifies these deadlines only. All other requirements of the Scheduling
22   Order (ECF 27) remain in effect.
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24         IT IS SO ORDERED.
25   Dated: June 14, 2023
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